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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
   v.                                           §   CRIMINAL NO. H-17-431
                                                §
STEPHEN P. LYNCH                                §


                                MOTION TO DISMISS COUNT


        The United States of America, by and through Ryan K. Patrick, United States Attorney,

and Kimberly Ann Leo, Assistant United States Attorney, for the Southern District of Texas,

requests that the Court dismiss Count Three of the Criminal Indictment filed against the

defendant, Stephen P. Lynch, pursuant to the plea agreement.

                                                    Respectfully submitted,

                                                    RYAN K. PATRICK
                                                    United States Attorney




                                             By:    ~//fllk
                                                      · berly      Leo
                                                    Assistant United States Attorney
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